a2) United States Design Patent (1) Patent No.:

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EXHIBIT A

US00D9272218

US D927,221 S

Tang (45) Date of Patent: «x. Aug. 10,2021
($4) TRON FRAME Dsi2396 § * 32018 Wilson 6566
; WSON occ eccceceeteene ees
(71) Applicant: Zhaoshi Tang, Huazhou (CN) 878.008 ° x 35050 D6/566
. D880,896 S * 4/2020 .. D6/566
(72) Inventor: Zhaoshi Tang, Huazhou (CN) D890.548 S * 7/2020 .. D6/574
D893,216 S * 8/2020 .. D6/566
(**) Term: 15 Years D917,203 S * 4/2021 D6/566
eat .
(21) Appl. No.: 29/775,514 cited by examiner
(22) Filed: Mar. 24, 2021 Primary Examiner — Wan Laymon
Assistant Examiner — Mark Booker
(51) LOC (13) Ch. eee eecteeeneeseeeneceeeneneees 06-04
(52) US. CL (57) CLAIM
USPC veccccccccsccseesseseeseeseessessescessessessesnesseeseenes D6/566 The ornamental design for an iron frame, as shown and
(58) Field of Classification Search described.
USPC. ou... D6/513, 511, 514, 524, 525, 536, 540, DESCRIPTION
D6/566, 570, 562, 574; D19/90;
211/13.1, 70.6, 70.7, 71.01, 74, 75, 86.01, FIG. 1 is a first perspective view of an iron frame showing
211/88.01, 90.01, 90.03, 106, 119, 126.1, my design;
211/133.5, 134, 181.1; 248/302; FIG. 2 is a second perspective view thereof;
D3/315; D7/601, 637 FIG. 3 is a front view thereof;
CPC ........ A47K 17/00; A47K 3/281; A47K 3/001; FIG. 4 is a back view thereof:
B23P 17/04; A47B 57/265; A47B 57/565; FIG. 5 is a left side view thereof:
oo A47B 57/26 FIG. 6 is a right side view thereof:
See application file for complete search history. FIG. 7 is a top view thereof: and
. FIG. 8 is a bottom view thereof.
(56) References Cited The broken lines shown in the drawings depict portions of
U.S. PATENT DOCUMENTS the iron frame in which the design is embodied that form no
part of the claimed design.
D773,219 S 12/2016 Clouse et al.
D784,721 S * 4/2017 Goodman ow... D6/525 1 Claim, 8 Drawing Sheets

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FIG. 1
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FIG. 2
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FIG. 3
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FIG. &
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FIG. 5
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FIG. 6
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FIG. 7
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FIG. 8
